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  UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF GEORGIA
               OFFICE OF THE CLERK
                    PO BOX 1636
             BRUNSWICK, GEORGIA 31521
                    (912)280-1330




                                 MEMORANDUM




SUBJECT: Restriction/Return of Discovery Related Materials


Pursuant to Federal Rule of Civil Procedure regarding the filing of discovery related
materials, your document(s) are being restricted (if filed electronically) or returned (if
submitted in paper form).




                                                   Scott L. Poff
                                                   Clerk, U.S. District Court
